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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION
______________________________________________________________________________

                                          )
WILLIAM R. ARELLANO,                      )
                                          )
            Plaintiff,                    )
                                          )
      vs.                                 )     Case No.
                                          )
                                          )
HARIBO OF AMERICA, INC.,                  )
                                          )
            Defendant.                    )
______________________________________________________________________________

                                          COMPLAINT

       Plaintiff, William R. Arellano (“Plaintiff”), by and through his attorneys, the Law Offices

of Michael T. Smith & Associates, P.C., in complaining of the Defendant, Haribo of America, Inc.

(“Defendant”), states as follows:

                                     NATURE OF ACTION

       1.      Plaintiff brings this action against Defendant under the Americans with Disabilities

Act, 42 U.S.C. 12101 et seq. ("ADA") for Defendant discriminating against him on the basis of

his disability, failing to accommodate his disability, and for retaliating against him for requesting

disability accommodations, complaining about disability discrimination, and complaining about

not being provided disability accommodations, which culminated in the termination of his

employment. Plaintiff also brings this action under Illinois common law for Defendant terminating

his employment in retaliation for reporting fraudulent activity of his manager against Defendant.

                                 JURISDICTION AND VENUE

       2.      Jurisdiction of this action is conferred upon the Court by 28 U.S.C. §§ 1331. This

Court has supplemental jurisdiction over Plaintiff’s Illinois Common Law Retaliatory Discharge


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claim pursuant to 28 U.S.C. §§ 1332 and 1367.

        3.      Venue for this action is proper in the United States District Court for the Northern

District of Illinois, Eastern Division, under 28 U.S.C. § 1391(b)(1)-(2) and (d) because the

employment practices hereafter alleged to be unlawful were committed in the Northern District of

Illinois, Eastern Division, and because Defendant's contacts are sufficient to subject it to personal

jurisdiction in that district.

        4.      Plaintiff filed an amended charge of discrimination against Defendant with the

Equal Employment Opportunity Commission ("EEOC") ("Exhibit A") and thereafter was sent a

Notice of Right to Sue ("Exhibit B").

        5.      Plaintiff timely filed his Complaint with the United States District Court for the

Northern District of Illinois within 90 days of his receipt of the notice of right to sue.


                                              PARTIES

        6.      Plaintiff is an adult, male individual and is a resident of Lyons, Illinois.

        7.      Defendant is, and was at all times relevant to the allegations herein, a foreign

corporation organized under the laws of the State of Delaware, regularly transacting business in

Illinois and other surrounding states.

        8.      At all times relevant to the allegations herein, Defendant was an "employer" as that

term is defined under the ADA.

        9.      At all times relevant to the allegations herein, Plaintiff was an “employee” of

Defendant as that term is defined under the ADA.

                                   FACTUAL ALLEGATIONS

        10.     Plaintiff began employment with Defendant on or around March 8, 2022, with his

most-recent position being Procurement Buyer.

        11.     At all times relevant, Plaintiff was qualified to perform the essential functions of a

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Procurement Buyer for Defendant and was meeting Defendant’s legitimate work performance

expectations when said expectations were applied consistently without regard to disability or

history of engaging in ADA protected activity.

        12.     Plaintiff was diagnosed with severe vein and nerve damage as a result of blood

clots. Plaintiff’s disability substantially limits him in several daily life activities, including but not

limited to standing and sitting and the major bodily function of blood circulation.

        13.     At all times relevant to Plaintiff’s claims, Defendant was aware of Plaintiff’s

disabilities.

        14.     During the course of Plaintiff’s employment, he has requested, and has been denied,

reasonable disability accommodations from Defendant. For instance, on one occasion, Plaintiff

contacted the training provider for an upcoming 5-day negotiating skills training session to explain

that he has a medical condition that can cause him complications when sitting for long periods of

time and ask what kinds of accommodations may be available. The trainer provider advised

Plaintiff that trainees would definitely be sitting for long periods of time and advised that he could

set up equipment so that Plaintiff could attend the training remotely. The training provider advised

Plaintiff that this would not be any issue as they were already well equipped to provide remote

viewing due to the recent Covid 19 pandemic.

        15.     After initially being granted the accommodation by the training provider, Plaintiff’s

manager advised him that he could not attend the training remotely and that he should just stay

home because he did not want the training organizer to have to make “extra accommodations” for

Plaintiff. This caused Plaintiff to feel embarrassed and ostracized from his team.

        16.     Plaintiff was also denied a request for accommodation he made in or around August

23, 2023 to work from home on an occasion when a new medication he was taking made him feel

intermittently weak and dizzy because his manager “did not trust working from home.” Instead,


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Defendant forced Plaintiff to take the rest of the week off, despite the fact that he had not asked to

take the rest week off and did not need to take the rest of the week off. Again, this caused Plaintiff

to feel embarrassed and ostracized from his team. Plaintiff’s position was well suited for remote

work and allowing Plaintiff to work from home would not have been unreasonably burdensome

for Defendant and would have allowed Plaintiff to perform all of his essential job functions.

       17.       In October of 2023, Plaintiff reported Defendant’s auditors that his manager, Walid

Saad, asked Plaintiff to falsify financial documents to commit fraud against Defendant, which he

refused to do.

       18.       In January of 2024, Plaintiff filed his initial charge of discrimination with the EEOC

alleging failure to accommodate and disability discrimination (“Exhibit C”).

       19.       In February of 2024, Plaintiff was suddenly terminated from employment by

Defendant, per Mr. Saad’s direction, without legitimate cause or justification. Mr. Saad indicated

that Plaintiff was being terminated for “performance issues,” despite the fact that Plaintiff had

never been disciplined by Defendant, had never been issued a performance improvement plan, and

had never been advised that his job performance was inadequate or deficient in any way.

                                        COUNT I
                           (ADA – DISABILITY DISCRIMINATION)

       20.       Plaintiff re-alleges paragraphs 1 through 19 and incorporates them as if fully set

forth herein.

       21.       The ADA prohibits employers from discriminating against employees on account

of their disabilities and further requires employers to make reasonable disability accommodations

to employees who are qualified individuals with a disability, so long as granting such

accommodation would not create an undue hardship for the employer.

       22.       Plaintiff is a qualified individual with a disability in that he could perform the

essential functions of his job.

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       23.      By its conduct as alleged herein, Defendant discriminated against Plaintiff on the

basis of his disability when it terminated his employment as alleged herein.

       24.      Defendant also failed to accommodate Plaintiff’s disability when it denied his

requested disability accommodations as alleged herein.

       25.      As a result of Defendant’s actions, Plaintiff has suffered lost wages, other economic

losses, and emotional distress.

       26.      Defendant’s conduct toward Plaintiff illustrated a willful and/or reckless disregard

of Plaintiff’s right to be free from impermissible disability discrimination.

       27.      Plaintiff demands to exercise his right to a jury trial in this matter.

                           PRAYER FOR RELIEF AS TO COUNT I

       WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in his favor

and against Defendant on Count I and that it:

       a)       Award Plaintiff equitable/injunctive relief;

       b)       Award Plaintiff the value of all actual damages to be proved at trial;

       c)       Award Plaintiff compensatory damages to make him whole, including but not

                limited to lost wages and compensation for emotional distress;

       d)       Award Plaintiff reinstatement, or front pay in the alternative;

       e)       Award Plaintiff reasonable attorney’s fees, costs and disbursements;

       f)       Award Plaintiff any other relief this Court deems just and proper.

                                           COUNT II
                                     (ADA – RETALIATION)

       28.      Plaintiff re-alleges paragraphs 1 through 19 and incorporates them as if fully set

forth herein.

       29.      The ADA prohibits employers from retaliating against employees for engaging in

protected activity, such as requesting accommodations, complaining of disability discrimination,

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or complaining that reasonable requests for disability accommodations were not granted.

        30.      Plaintiff engaged in ADA protected activity when he requested disability

accommodations from Defendant and filed a charge of discrimination with the EEOC.

        31.      By its conduct as alleged herein, Defendant retaliated against Plaintiff for engaging

in ADA protected activity when terminated his employment without legitimate cause or

justification.

        32.      As a result of Defendant’s actions, Plaintiff has suffered lost wages and other

economic losses.

        33.      Defendant’s conduct toward Plaintiff illustrated a willful and/or reckless disregard

of Plaintiff’s right to be free from impermissible retaliation.

        34.      Plaintiff demands to exercise his right to a jury trial of this matter.

                            PRAYER FOR RELIEF AS TO COUNT II

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in his favor

and against Defendant on Count II and that it:

        a)       Award Plaintiff equitable/injunctive relief;

        b)       Award Plaintiff the value of all actual damages to be proved at trial;

        c)       Award Plaintiff compensatory damages to make him whole, including but not

                 limited to lost wages;

        d)       Award Plaintiff reinstatement, or front pay in the alternative;

        e)       Award Plaintiff reasonable attorney’s fees, costs and disbursements;

        f)       Award Plaintiff any other relief this Court deems just and proper.

                                   COUNT II
                 (ILLINOIS COMMON LAW RETALIATORY DISCHARGE)

        35.      Plaintiff pleads this count in the alternative.



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        36.      Plaintiff realleges allegations 1- 19 with the same force and effect as if more fully

set forth herein.

        37.      Illinois courts have recognized a limited exception to the at-will employment rule

in cases where an employee is fired in violation of an established public policy, such as being

terminated for refusing to commit illegal acts, or reporting a manager for committing illegal acts,

such as fraud.

        38.      Plaintiff refused to commit the fraudulent acts directed of him by Mr. Saad and

reported him to Defendant for the same.

        39.      By the conduct alleged herein, Defendant terminated Plaintiff without legitimate

cause or justification in violation of established public policy for refusing to commit fraud and

reporting Mr. Saad for committing fraud.

        40.      Defendant’s conduct toward Plaintiff illustrated a willful and/or reckless disregard

of Plaintiff’s right to be free from impermissible retaliation.

        41.      Plaintiff demands to exercise his right to a jury trial of this matter.

                           PRAYER FOR RELIEF AS TO COUNT III

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in his favor

and against Defendant on Count III and that it:

        a)       Award Plaintiff equitable/injunctive relief;

        b)       Award Plaintiff the value of all actual damages to be proved at trial;

        c)       Award Plaintiff compensatory damages to make him whole, including but not

                 limited to lost wages;

        d)       Award Plaintiff punitive damages;

        e)       Award Plaintiff reinstatement, or front pay in the alternative;

        f)       Award Plaintiff reasonable attorney’s fees, costs and disbursements;


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      g)     Award Plaintiff any other relief this Court deems just and proper.



                                WILLIAM R. ARELLANO

                                  By:/s/ Michael T. Smith
                                     Michael T. Smith
                                       Trial Attorney




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            Defendant.                    )
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                                 COMPLAINT




                       EXHIBIT A




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                  IN THE UNITED STATES DISTRICT COURT
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            Plaintiff,                    )
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      vs.                                 )     Case No.
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                                          )
            Defendant.                    )
______________________________________________________________________________

                                 COMPLAINT




                       EXHIBIT B




                                       10
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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION
______________________________________________________________________________

                                          )
WILLIAM R. ARELLANO,                      )
                                          )
            Plaintiff,                    )
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      vs.                                 )     Case No.
                                          )
                                          )
HARIBO OF AMERICA, INC.,                  )
                                          )
            Defendant.                    )
______________________________________________________________________________

                                 COMPLAINT




                       EXHIBIT C




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